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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

VERONICA BRAYMAN,

       Plaintiff,                                     CASE NO.: 1:20-cv-01524

vs.

CAPITAL ONE BANK (USA) N.A.,

      Defendant.
__________________________________/


                                  NOTICE OF SETTLEMENT

       Plaintiff, Veronica Brayman, by and through her undersigned counsel, hereby notifies the

Court that the parties have reached a settlement in this action. Upon full execution of the settlement

agreement and compliance with all terms set forth therein, this matter will be dismissed with

prejudice.

                                                      Respectfully submitted,

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                                              By:     /s/ Hyatt Shirkey________
                                                      Hyatt Browning Shirkey
                                                      Virginia Bar No. 80926



                                               PRO HAC VICE COUNSEL

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                                             By:       /s/ Matthew L. Schwartz
                                                       Matthew L. Schwartz
                                                       Fla. Bar. No. 15713

                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of May, 2021, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day on all counsel of record via transmission of Notices of Electronic Filing

generated by CM/ECF or mail.

                                             /s/ Matthew L. Schwartz
                                             Matthew L. Schwartz
                                             Fla. Bar. No. 15713

                                             /s/ Hyatt Shirkey________
                                             Hyatt Browning Shirkey
                                             Virginia Bar No. 80926




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